Exhibit A
         ILR BRIEFLY

    A BAD MATCH: ILLINOIS AND
    THE BIOMETRIC INFORMATION
    PRIVACY ACT

    “     The Illinois Biometric Information Privacy
    Act is a prime example of a misdirected law
    that has led to more litigation abuse than


                         ”
    consumer protection.


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A Bad Match: Illinois and the Biometric Information
Privacy Act†
Policymakers across states are grappling with whether and how to
regulate the collection, use, and sharing of biometric identifiers—
such as fingerprints or facial scans. A few states have adopted
stand-alone biometric privacy laws that create notice, consent, and
other requirements for biometric data in certain circumstances, while
others have adopted omnibus privacy laws that sweep in biometric
data as a subset of protected data.1

Of the three states that have       policymakers considering            biometrics information is being
stand-alone biometric privacy       biometric privacy laws to avoid     collected, stored, and used”)6
laws—Illinois, Texas, and           unfairly punishing businesses,      and obtaining written release.
Washington—the Illinois law is      promoting frivolous lawsuits, and
                                                                        Aside from the substantive
the only one that authorizes a      stifling the immense practical
                                                                        requirements around a
private right of action (PRA).      benefits of utilizing biometric
                                    data for purposes such as           company’s biometric data
One huge concern with               authentication and security.3       practices, what makes BIPA
biometric privacy laws in                                               stand out from other state
general is that they can create     BIPA: A LUCRATIVE TARGET            biometric privacy laws is
unintended consequences.                                                its PRA and overall lack of
                                    Enacted in 2008, BIPA is a
Such laws can incentivize                                               commonsense enforcement
                                    biometric privacy law that
lawsuits over routine practices                                         procedures to protect
                                    regulates the collection,
with no consumer harm,                                                  companies attempting good
                                    retention, disclosure, and
resulting in big awards for                                             faith compliance with the
                                    destruction of biometric
plaintiffs’ attorneys, litigation                                       law, which have opened the
                                    identifiers (e.g., retina or iris
burdens on well-meaning                                                 floodgates to abusive litigation.
                                    scans, fingerprint, voiceprint,
companies, and no net benefit                                           Notably, as the mapping in
                                    or scans of hand or face
for consumers. The Illinois                                             the Appendix shows, BIPA
                                    geometry) and biometric
Biometric Information Privacy                                           fails to incorporate meaningful
                                    information.4 The requirements
Act (BIPA) is a prime example                                           procedural protections needed7
                                    for entities that possess
of a misdirected law that has                                           to prevent unintended and
                                    this data are complex and
led to more litigation abuse                                            harmful consequences of state
                                    technical,5 including providing
than consumer protection.2                                              privacy legislation, making it a
                                    written notice (of the “specific    poster child for litigation abuse.
Understanding and avoiding          purpose and length of term for
the pitfalls of BIPA will help      which a biometric identifier or



2
BIPA’S PRA AND LOW                 neither of these things.         without showing any actual
HURDLE TO BRING SUIT               Instead of precluding a PRA,     harm or adverse effect, was
ALLOW RAMPANT ABUSE                it authorizes one. Instead of    enough to state a claim under
                                   vesting enforcement authority    the law.8 Together, the PRA
The most important way to          with the Illinois Attorney       and the incredibly low hurdle
protect consumers’ privacy,        General, it leaves litigation    to bringing a lawsuit—allowing
avoid inconsistent and unfair      completely up to private         for litigation based on mere
application of laws, and stem      plaintiffs and lawyers.          procedural violations—has
the growing tide of litigation                                      inevitably fueled a torrent
abuse is to explicitly preclude    BIPA’s PRA is exacerbated by     of lawsuits, with plaintiffs’
a PRA in privacy legislation       the lack of a need to show any   attorneys seemingly
and to vest enforcement            actual harm to consumers.        motivated by the promise of
authority solely in the hands      In January 2019, the Illinois    large cash settlements filing
of experts with discretion         Supreme Court found in           boilerplate complaints.9
(i.e., state attorneys general).   Rosenbach v. Six Flags that
Unfortunately, BIPA does           simply violating the statute,




              “    Together, the PRA and the incredibly low hurdle to
              bringing a lawsuit—allowing for litigation based on mere
              procedural violations—has inevitably fueled a torrent of
              lawsuits, with plaintiffs’ attorneys seemingly motivated by
              the promise of large cash settlements filing boilerplate


                               ”
              complaints.




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Exponential Growth in Litigation
By the numbers, there has                   there were only 15 BIPA class                    million.11 Litigation began to
been exponential growth in                  actions filed in Illinois,10 with                grow thereafter, as the below
BIPA litigation. Since BIPA was             the first class-wide settlement                  graph shows.12
enacted in 2008 through 2016,               approved in 2016 for $1.5



                        Figure 1: BIPA Class Actions Filed in Illinois 2008 - June 2019*                            161
        180

        150


        120
                                                                                                           79
                                                                                                  69
          90


          60

                                                                                6        9
          30

           0
            2008      2009      2010     2011     2012      2013     2014      2015     2016      2017     2018     2019

      Source: Biometric Privacy Class Actions By The Numbers: Analyzing Illinois’ Hottest Class Action Trend, available at
      https://www.workplaceclassaction.com/2019/06/biometric-privacy-class-actions-by-the-numbers-analyzing-illinois-
      hottest-class-action-trend/.

      *Filing numbers cited in Figures 2 and 3 may not sum to yearly filing totals in this chart due to differing
      methodologies.


Then in January 2019, the                   This decision spurred a massive                  an additional case filed every
Supreme Court of Illinois found             wave of class actions: from                      day.”13 2019 closed out with
in Rosenbach that a plaintiff               that decision in January 2019                    close to 300 BIPA lawsuits
could seek liquidated damages               to June of the same year,                        filed in Illinois—almost four
and injunctive relief under the             there was a total of 151 class                   times the number of cases
state privacy statute without               actions filed in Illinois, which                 filed the year before.14
proof of actual damages.                    was “approximately a rate of




    “     2019 closed out with close to 300 BIPA lawsuits filed in Illinois—


                                                                                                         ”
    almost four times the number of cases filed the year before.



4
                           Figure 2: BIPA Cases Filed in Illinois State Court 2015 - Q1 2021

      2015           2016            2017              2018          2019            2020              Q1 2021             Total

        4              3              58                74            286              95                 13                533

Source: Biometric Proposals May Provide Relief to Employers and Courts, available at https://www.hklaw.com/en/insights/
publications/2021/04/biometric-proposals-may-provide-relief-to-employers-and-courts.




Suits are rampant—and                       outside of Illinois.15 While 2020             All told, according to a search of
growing—at the federal level                saw 153 BIPA-related federal                  court filings, plaintiffs’ lawyers
as well: one study shows that               cases, the first quarter of 2021              had filed over 900 cases alleging
plaintiffs have filed 370 BIPA-             alone saw over a third of that                BIPA violations through
related cases in federal district           amount: 53 cases.16                           September 2021.
courts since 2015, including



                             Figure 3: BIPA Cases Filed in Federal Court 2015 - Q1 2021
                                                                                                                Q1
                                    2015        2016          2017      2018       2019         2020                        Total
                                                                                                               2021
    USDC, N.D. Illinois                7          7           29         16          67          114            42            282

    USDC, N.D. California              4          3            3         11           3           17                           41

    USDC, S.D. Illinois                                        1                      8           13             6             28

    USDC, C.D. Illinois                                        1                      4            9             5             19

    Grand Total                       11          10          34         27          82          153            53            370

Source: Biometric Proposals May Provide Relief to Employers and Courts, available at https://www.hklaw.com/en/insights/
publications/2021/04/biometric-proposals-may-provide-relief-to-employers-and-courts.




      “      All told, according to a search of court filings, plaintiffs’ lawyers
      had filed over 900 cases alleging BIPA violations through


                                ”
      September 2021.


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Plaintiffs’ Lawyers, Not Consumers, Reap the Benefits
Another feature of BIPA that        These features—liquidated        • In April 2021, an Illinois
makes it a particular target        damages and attorneys’ fees,       judge approved a $25
for plaintiffs’ attorneys is        both uncapped—have resulted        million BIPA class action
that it establishes uncapped        in astronomical dollar figures     settlement between ADP
liquidated damages and allows       from BIPA litigation, with         and its employees. While
for unlimited                                                                   the individuals who



                        “
attorneys’                                                                      filed claims under
fees. Rather                                                                    the settlement will
than imposing
                                 These    features—liquidated                   receive about $375
reasonable total             damages and attorneys’ fees, both                  each according
limits on damages,                                                              to the terms of
the law allows               uncapped—have             resulted   in            the settlement
plaintiffs to                astronomical dollar figures from                   (with the class
seek liquidated                                                                 representatives
damages of                   BIPA litigation, with attorneys                    receiving $7,500
$1,000 or $5,000                                                                each), the class
per violation,
                             getting  huge     sums      and  class             counsel was
depending                    members getting relatively little                  awarded $8.75



                                                          ”
on whether                                                                      million, or more
the violation                compared      to  attorneys.                       than one-third
is negligent                                                                    of the total
or intentional/                                                                 settlement fund.21
reckless.  17
                                    attorneys getting huge sums
                                                                     • In May 2021, an Illinois
                                    and class members getting
In practice, these liquidated                                          judge approved a nearly
                                    relatively little compared to
damages provisions increase                                            $1 million settlement in
                                    attorneys. For example:
liability exposure beyond actual                                       the Lifespace BIPA case
damages—given that actual           • In the landmark Facebook         between a senior living
damages are typically negligible        settlement involving the       chain and its employees.
and the statute states that             company’s facial               While the employee
recovery may occur on a per             recognition technology, a      class members received
violation basis. Further, BIPA
                 18
                                        federal judge in February      $1,150, before subtracting
authorizes attorneys’ fees              2021 approved a $650           attorneys’ fees and costs,
without any caps—allowing for           million settlement fund,       the attorneys were granted
“reasonable attorneys’ fees and         $97.5 million of which goes    almost $329,000.22
costs, including expert witness         to attorneys’ fees, with
fees and other litigation               class members receiving
expenses.” This only serves
              19
                                        around $350 each.20
to increase litigiousness.




6
                         Figure 4: Attorneys’ Fees as a Proportion of BIPA Settlements
                                                                                           23




            Facebook                                   ADP                                 Lifespace
      Total settlement amount:               Total settlement amount:              Total settlement amount:
             $650 million                            $25 million                            $987,850




     Attorneys’ fees: $97.5 million         Attorneys’ fees: $8.75 million        Attorneys’ fees: $329,000

     Estimated recovery per                 Estimated recovery per absent         Estimated recovery per
     absent class member: $350              class member: $375                    absent class member: $1,150
                                                                                  (before subtracting attorneys’
                                                                                  fees and costs)



BIPA TARGETS BUSINESSES                was filed against a family-           where the small business used
BOTH BIG AND SMALL                     run company based in South            a biometric time clock to clock
                                       Holland, Illinois that has a          employees in and out.27
Contrary to typical media              total of 65 employees. The
reports, it is not just tech giants                                          In Truss v. Four Seasons
                                       suit discusses unrelated
and large employers that are                                                 Heating & Air Conditioning,28
                                       data breaches—including
bearing the brunt of BIPA                                                    the same attorney and law
                                       the 2015 Office of Personnel
litigation abuse. According                                                  firm brought a nearly identical
                                       Management breach—but
to the Illinois Chamber of                                                   complaint just six days later
                                       does not allege actual harm.26
Commerce, it is mostly small                                                 against another small business
                                       Instead, it alleges only technical
companies in the state facing                                                in Illinois—this time a heating
                                       violations of the law, including
lawsuits.24                                                                  and air conditioning company.29
                                       an alleged failure to provide
In Kirby v. Gurtler Chemicals,         a publicly available retention
Inc.,25 a class action suit            schedule, among other things,




    “  According to the Illinois Chamber of Commerce, it is mostly


                                                                             ”
    small companies in the state facing lawsuits.




7                                                                             ILR BRIEFLY | October 2021 | A Bad Match
BIPA PUNISHES TECHNICAL            liability, Hyatt settled the class   remote proctoring software
VIOLATIONS INSTEAD OF              action claims for $1.5 million.31    with biometric features—was
ADDRESSING ACTUAL INJURY                                                hit with three lawsuits from
                                   In another suit, a proposed          students at three different
Following the decision in          class is seeking damages             schools between November
Rosenbach, the lack of any         from an audio recognition            2020 and April 2021.34
requirement to show actual         company whose software
injury under BIPA has resulted     helps consumers issue voice          Some privacy laws attempt
in businesses being targeted for   commands to trigger hands-           to protect against punishing
high-dollar lawsuits under the     free features, such as changing      technical violations that do
statute as a result of technical   stations, volume control,            not result in actual harm by
missteps.                          or interactive requests—a            allowing for reasonable notice
                                   clear benefit to help prevent        and cure periods or establishing
In Rapai v. Hyatt Corp, the        distractions and increase            safe harbor provisions for
defendant hotel collected          convenience.32 However,              companies. However, BIPA
fingerprints of employees who      the suit alleges that the            does neither of these things—
used a biometric time and          company did not obtain written       leading to unfair and very costly
attendance system, allowing        permission or make certain           consequences. While there
those employees to accurately      technical disclosures.33             have been efforts to reform
punch in and out.30 The                                                 BIPA—including HB 559, a bill
automated time entry solution      There is even a trend targeting
                                                                        proposed in the 2021 Illinois
helped employees accurately        entities that are helping
                                                                        legislative session that would
get paid for time worked, but      students and schools adapt
                                                                        have, among other things,
plaintiffs held that it did not    to remote learning during the
                                                                        established a 30-day notice
technically comply with the        global COVID-19 pandemic.
                                                                        and cure period before initiating
law. Amidst the uncertainty        For example, Respondus
                                                                        actions—none have yet
surrounding the scope of BIPA      Inc.—a company that offers
                                                                        succeeded.35




    “   Some privacy laws attempt to protect against punishing
    technical violations that do not result in actual harm by
    allowing for reasonable notice and cure periods or establishing
    safe harbor provisions for companies. However, BIPA does
    neither of these things—leading to unfair and very costly


                         ”
    consequences.




8
Conclusion
LOOKING AHEAD, BIPA SHOULD         harmed by a statutory              have provided little benefit
NOT BE THE BLUEPRINT FOR           violation have Article III         to consumers and failed to
BIOMETRICS REGULATION              standing,37 defendants may         remedy concrete harms,
                                   have a path to challenge BIPA      while the law has punished
The BIPA legal landscape           suits filed in federal courts on   businesses operating in good
continues to evolve, which         procedural grounds.                faith and inevitably deterred
may provide clarity on some                                           them from adopting biometric-
important legal questions          But amid the evolving              based technology that will
and lead to different litigation   landscape, one thing is clear:     benefit businesses and
trends. For example, as of this    BIPA’s PRA—coupled with            consumers alike.
writing, the Seventh Circuit is    the law’s many other failings,
set to answer whether BIPA         including unfettered liquidated    As other states consider
claims accrue with each alleged    damages, lack of a need to         legislative approaches to
violation or only once.36 And in   show consumer harm, and lack       biometric privacy, they
light of recent U.S. Supreme       of notice and cure periods—        should view BIPA not as a
Court precedent holding            has had disastrous effects.        blueprint, but as a lesson in
that only plaintiffs concretely    The lawsuits themselves            what not to do.




                       “   As other states consider legislative
                       approaches to biometric privacy, they
                       should view BIPA not as a blueprint,


                                                                      ”
                       but as a lesson in what not to do.




9                                                                      ILR BRIEFLY | October 2021 | A Bad Match
                    Appendix: BIPA’s Lack of Commonsense Procedural Protections

 Recommended        Importance of Protection                    Corresponding Deficiency in BIPA
 Protection

 Preclude Private   Privacy bills should preclude private       Rather than precluding a PRA, BIPA is the only state
 Rights of Action   litigants from bringing lawsuits for        biometric privacy law that authorizes one.38 By contrast,
 (PRAs)             violations. Enforcement by experts          Washington’s biometric privacy law “may be enforced solely
                    with discretion—not plaintiffs’             by the attorney general” and under Texas’ biometric privacy
                    lawyers—will best protect consumers.        law, only “[t]he attorney general may bring an action to
                                                                recover the civil penalty.”39

 Vest Exclusive     Exclusive enforcement authority             BIPA only authorizes private enforcement—it does not
 Enforcement        should be vested with the state’s           look to the Illinois Attorney General for consistent and fair
 Authority with     attorney general, who is best               enforcement.
 the Attorney       positioned to enforce complex and
 General            technical laws. Dividing enforcement
                    authority amongst other actors—like
                    private plaintiffs and their attorneys—
                    risks inconsistent and unfair application
                    of the laws.

 Cap Damages        State privacy legislation should impose     Rather than providing reasonable caps, BIPA’s liquidated
 and Civil          reasonable caps on damages and civil        damages—$1,000 or $5,000 (depending on whether the
 Penalties          penalties for violations. Enormous          violation is negligent or intentional/reckless)40—can lead
                    damages and punitive civil penalties        to company-ending results. In practice, the liquidated
                    are not needed to ensure that               damages provisions increase liability exposure beyond actual
                    businesses comply with privacy laws.        damages—given that actual damages are typically negligible
                                                                and the statute states that recovery may occur on a per
                                                                violation basis.41

 Limit Attorneys’   While states should not authorize           BIPA allows for “reasonable attorneys’ fees and costs,
 Fees               private enforcement of privacy laws,        including expert witness fees and other litigation expenses.”42
                    in the event they do, states should         These fees and costs, too, are uncapped by the statute.
                    at a minimum limit attorneys’ fees.
                    Without such limits, the potential
                    for astronomical attorneys’ fees
                    encourages litigiousness.

 Establish Notice   Even companies with the best                BIPA provides no such provision.
 and Cure Periods   intentions may err in applying complex
                    and technical requirements in real-
                    world scenarios. Notice and cure
                    periods allow companies to course
                    correct, which saves enforcement
                    resources and promotes compliance.

 Offer Safe         Privacy bills should include reasonable     BIPA does not establish any safe harbors.
 Harbors            safe harbors for compliance, which will
                    encourage best practices, protect well-
                    meaning companies from “gotcha”-
                    style liability, and reserve enforcement
                    resources for true bad actors.




10
Endnotes
†    T
      his edition of ILR Briefly was prepared by Megan        11	
                                                                  Ill-Suited at 10.
     L. Brown, Duane C. Pozza, Kathleen E. Scott, and
                                                               12	
                                                                  See Biometric Privacy Class Actions by the Numbers.
     Tawanna D. Lee of Wiley Rein LLP.
                                                               13	
                                                                  Id.
1	Additionally, several states have included biometric
   data as an element that triggers reasonable security        14	Veronica L. Canton, Biometric Proposals May Provide
   requirements and/or notifications in the case of a              Relief to Employers and Courts, Holland and Knight
   breach.                                                         Cybersecurity Privacy Blog (Apr. 20, 2021), https://
                                                                   www.hklaw.com/en/insights/publications/2021/04/
2    740 Ill. Comp. Stat. § 14/1 et seq.
                                                                   biometric-proposals-may-provide-relief-to-employers-
3	For example, the National Institute of Standards                and-courts (“Biometric Proposals May Provide Relief
   and Technology (NIST) explains that “easily and                 to Employers and Courts”).
   accurately ascertaining the identity of individuals is
                                                               15	
                                                                  Biometric Proposals May Provide Relief to Employers
   what biometrics systems are all about,” noting that
                                                                  and Courts, https://www.hklaw.com/en/insights/
   biometrics are used to manage identities in a range
                                                                  publications/2021/04/biometric-proposals-may-
   of settings, from “first responders at the scene of a
                                                                  provide-relief-to-employers-and-courts.
   natural disaster” to “soldiers in theater.” See Key to
   Security, Biometric Standards, NIST, https://cdnapisec.     16 Id.
   kaltura.com/index.php/extwidget/preview/partner_
                                                               17 See 740 Ill. Comp. Stat. § 14/20(1)-14/20(2)
   id/684682/uiconf_id/31013851/entry_id/1_genwk6mj/
                                                                   (authorizing “liquidated damages of $1,000 or actual
   embed/dynamic; Biometrics, NIST, https://www.nist.
                                                                   damages, whichever is greater” or “liquidated
   gov/programs-projects/biometrics.
                                                                   damages of $5,000 or actual damages, whichever is
4    See generally 740 Ill. Comp. Stat. § 14/1 et seq.             greater”).
5     ee Ill-Suited: Private Rights of Action and Privacy
     S                                                         18 See id. at § 14/20 (“A prevailing party may recover for
     Claims at 10, U.S. Chamber Institute for Legal                each violation … .”).
     Reform (July 2019), https://instituteforlegalreform.
                                                               19	
                                                                  Id. at § 14/20(3).
     com/research/ill-suited-private-rights-of-action-and-
     privacy-claims/ (“Ill-Suited”) (generally explaining      20	Lauren Berg, $650M Facebook Privacy Deal OK’d,
     that BIPA “(1) regulates the retention and destruction        $110M Atty Fees Trimmed, Law 360 (Feb. 26, 2021),
     of biometric information; (2) prohibits the collection,       https://www.law360.com/articles/1359569/-650m-
     retention, or disclosure of biometric information             facebook-privacy-deal-ok-d-110m-atty-fees-trimmed.
     without providing certain information to data subjects
                                                               21	
                                                                  See Peter S. Lubin and Patrick Austermuehle,
     in writing and receiving written consent; (3) prohibits
                                                                  Judge Grants Final Approval to $25M Settlement in
     selling, leasing, trading, or otherwise profiting from
                                                                  BIPA Class Action against ADP, Chicago Business
     biometric information; and (4) restricts the disclosure
                                                                  Litigation Lawyer Blog (Apr. 15, 2021), https://www.
     of biometric information.”).
                                                                  chicagobusinesslitigationlawyerblog.com/judge-
6	
  See 740 Ill. Comp. Stat. § 14/15(b)(2).                         grants-final-approval-to-25m-settlement-in-bipa-class-
                                                                  action-against-adp/.
7	
  Ill-Suited, generally.
                                                               22	Lauraann Wood, Attys Score $328K Payday After $1M
8	
  Rosenbach v. Six Flags Entm’t Corp., 2019 IL 123186
                                                                   BIPA Deal Gets Final OK, Law360 (May 13, 2021),
  (Jan. 25, 2019).
                                                                   https://www.law360.com/articles/1384387/attys-
9    Ill-Suited at 10–11.                                         score-328k-payday-after-1m-bipa-deal-gets-final-ok.
10	
   Biometric Privacy Class Actions by the Numbers:             23	The blue portions of squares in the three charts
   Analyzing Illinois’ Hottest Class Action Trend,                 below are not accurate proportional representations of
   Seyfarth Shaw LLP (June 28, 2019), https://www.                 estimated recoveries per absent class member. Actual
   workplaceclassaction.com/2019/06/biometric-privacy-             estimated recoveries per absent class member are too
   class-actions-by-the-numbers-analyzing-illinois-                small to represent at scale in these charts. The blue
   hottest-class-action-trend/ (“Biometric Privacy Class           portions seen here are thus over-representations for
   Actions by the Numbers”).                                       illustrative purposes.



11                                                                                     ILR BRIEFLY | October 2021 | A Bad Match
24	Grace Barbic, Lawmakers revisit data collection privacy   33 See Carpenter v. Soundhound, Inc. Complaint ¶¶
    laws, The Courier (Mar. 10, 2021), https://www.               34-35.
    lincolncourier.com/story/news/politics/2021/03/10/
                                                              34	Lauraann Wood, More Students Hit Testing Software
    biometric-information-privacy-act-protect-small-
                                                                  Co. Over Facial Scans, Law 360 (Apr. 5, 2021), https://
    businesses/6944810002/.
                                                                  www.law360.com/classaction/articles/1371876/more-
25 See Gurtler Industries, Inc., About Us (visited Aug,          students-hit-testing-software-co-over-facial-scans.
    23, 2021), https://www.gurtler.com/laundry-chemical-
                                                              35	
                                                                 See HB 559, Ill. General Assembly, https://
    manufacturer/ (highlighting the three generations
                                                                 www.ilga.gov/legislation/BillStatus.
    of the Gurtler family behind the business); Gurtler
                                                                 asp?DocNum=559&GAID=16&DocTypeID
    Industries, Dun & Bradstreet Company Profile (visited
                                                                 =HB&SessionID=110&GA=102.
    Aug. 23, 2021), https://www.dnb.com/business-
    directory/company-profiles.gurtler_chemicals_             36 See Cothron v. White Castle System Inc., Brief and
    inc.38460515a1de358a356d9b3861c1efc2.html                     Required Short Appendix of Defendant-Appellant
    (listing 65 total employees across all of the                 White Castle System, Inc., No. 20-3202 (7th Cir. Aug.
    company’s locations).                                         13, 2020) (“Whether, when conduct that allegedly
                                                                  violates BIPA is repeated, that conduct gives rise to a
26 Kirby v. Gurtler Chemicals, Inc., Class Action
                                                                  single claim under Sections 15(b) and 15(d) of BIPA, or
    Complaint, Case No. 2019-CH-09395 (Ill. Cir. Ct.,
                                                                  multiple claims.”)
    Cook Cty. Aug. 14, 2019).
                                                              37 See TransUnion LLC v. Ramirez, 141 S.Ct. 2190 (2021);
27 Id.
                                                                  see also Spokeo, Inc. v. Robins, 578 U.S. 330 (2016).
28 Truss v. Four Seasons Heating & Air Conditioning, Inc.,
                                                              38	740 Ill. Comp. Stat. § 14/20 (“Any person aggrieved by
    Class Action Complaint, Case No. 2019-CH-09633 (Ill.
                                                                  a violation of this Act shall have a right of action in a
    Cir. Ct., Cook Cty. Aug. 20, 2019).
                                                                  State circuit court or as a supplemental claim in federal
29	
   See Four Seasons Heating and Air Conditioning,                 district court against an offending party.”).
   About Us (visited Aug. 23, 2021), https://www.
                                                              39	Wash. Rev. Code § 19.375.030(2); Tex. Bus. & Com.
   fourseasonsheatingcooling.com/about-us/.
                                                                  Code § 503.001(d).
30	Complaint, Rapai v. Hyatt, Corp, 2017 WL 5015841 (Ill.
                                                              40 See 740 Ill. Comp. Stat. § 14/20(1) (authorizing
    Cir. Ct., Cook Cty. Oct. 30, 2017) at ¶ 2.
                                                                  “liquidated damages of $1,000 or actual damages,
31	Celeste Bott, Hyatt To Pay $1.5 M To Resolve                  whichever is greater” or “liquidated damages of
    Biometric Privacy Suit, Law 360 (Jul. 14, 2021),              $5,000 or actual damages, whichever is greater”).
    https://www.law360.com/articles/1403093/hyatt-to-
                                                              41	
                                                                 See id. at § 14/20. (“A prevailing party may recover for
    pay-1-5m-to-resolve-biometric-privacy-suit.
                                                                 each violation … .”).
32	
   See Carpenter v. Soundhound, Inc. Class Action
                                                              42	
                                                                 Id. at § 14/20(3).
   Complaint, No. 2021CH03346 (Ill Cir. Ct., Cook
   Cty. July 9, 2021); Celeste Bott, Audio Co. Sued
   Over Software Used in Pandora’s ‘Voice Mode,’
   Law360 (July 14, 2021), https://www.law360.com/
   articles/1403034/audio-co-sued-over-software-used-
   in-pandora-s-voice-mode.




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